        Case: 1:18-cv-01277 Document #: 1 Filed: 02/20/18 Page 1 of 19 PageID #:1                   ((


                           IN TIIE I'I\IITED STATES DISTRICT COURT
                                                                            FI LE[)
                          FOR TIIE NORTHERN DISTRICT OF ILLINOIS                     FEB 80 2UA{0
                                      EASTERN DTYISION

                                                                            .,H8mS'tfrfi?l3ilo
 JAN KOWALSKI McDONALD,
                                                        Complaint for Declaratory Judgment;
     Plaintiff,
                                                        Injunctive Relief; Violation of Civil
                                                        Rights $1983; Violation of the Voting
      -against-                                         Rights Act of 1965

 COOK COI.INry OFFICERS' ELECTORAL BOARD,
 DAVID ORR in his official capacity as Cook County        1 :1 8-cv-01277
                                                        ( Judge Joan H.
 Clerk and Chairman, KIMBERLY FOXX, in her official                            Lefl<ow
 capacity as Cook County State's Attorney and Member,     Magistrate Judge Daniel G. Martin
 and DOROTHY BROWN, in her offrcial capacity as Clerk
 of the Circuit Court of Cook County and Member,        Jury   Trial: fi V"r tr No
                                                                       (check one)


     Defendants.




              couNT I: CoMPLATNT FoR DECT"ARAToRYJUDGMENT;
                   CO9ltlT II: COMPI"AINT FOR INJIINCTITIE nff,tnfi
              couNT rrr: coMPr,arrillt FoR CrvIL RrGrrrs vror,rtrroN
                                  UNDER 4z U.S.C. 8rg83

I.      The Parties to This Complaint
        A.         The Plaintiff(s)
1.      Plaintiff-Candidate, JAN KOWALSKI McDONALD (,,Jan,,), is a resident and

registered voter in unincorporated LaGrange, County of Cook and State of Illinois.

2.      She is a candidate for election to the Office of the Cook County Clerk, County of

cook, state of Illinois at the March 20, 2o1g primary Election, and she was a

respondent before the Cook County Electoral Board.

        B.        The Defendant(s)
       Case: 1:18-cv-01277 Document #: 1 Filed: 02/20/18 Page 2 of 19 PageID #:2



 B.     Defendant, cooK couNTr OFFICERS ELECTORAL BOARD (,,cccoEB,,), is a

 statutory enttty with the power to determine the validity of nomination papers pursuant

 to the objection procedures set forth in Article ro of the Illinois Election Code.

 4.     Defendant, KIMBERLY FOXX, in her official capacity as Cook County State's

 Attorney and CCCOEB Member.

 5.     Defendant, DOROTHY BROWN, in her official capacity as Cook County Clerk of

 the Circuit Court and CCOEB Member.

 6.     Defendant, DAVID OR& in his official capacity as Cook County Clerk and

 CCOEB Member and Chairman of the CCOEB.

 U.     Basis for Jurisdiction

 7.     Plaintiffbrings this action under 4z U.S.C. $rg83 and 1988 to redress the

deprivation under color of state law of rights secured bythe United States
                                                                              Constitution.
8.     Jurisdiction over the federal claims is conferred on this Court by zg U.S.C.
                                                                                      $$gr
and gts4B(aXS) and (aX+).

9'     Jurisdiction to grant the declaratory relief requested is provided under zg U.S.C.

$zzor. Venue is proper under zg U.S.C. $r39r.
10. The Rule rr hearing of the ccoEB was held on February 15, 2o1g and the
Decision of the ccoEB was issued on Februaa 2o,zorg in
                                                              chicago, cook county,
Illinois and jurisdiction in proper in the circuit court of cook county.

11' AII facts and events occurred in Cook County, Illinois and jurisdiction is proper in
Cook County, Illinois.

III. Facts Common To AII Counts
12. Plaintiffis a candidate for the office of cook county clerk.
      Case: 1:18-cv-01277 Document #: 1 Filed: 02/20/18 Page 3 of 19 PageID #:3



 13. On Decembet 4,2oL7, Candidate submitted her Petition for Nomination to the
Cook County Clerk for the March zo, zor9 Democratic Primary Election. Said Petition

contains 22,oST signatures from Cook Countyvoters.

 1.4. A signature records examination conducted by the Cook County Clerk pursuant
to an objection filed by Reginald Featherston Sr. found that Plaintiffs Petition contained

far in excess of 5,ooo valid signafures of Cook CountyVoters. The records examination

confirmed on January 4, eorS finding that Jan had 8,684 valid signatures of registered

voters. Nevertheless, the objection proceedings continued as the objector made further

allegation.

15. The February 2c., zot8, CCOEB Decision sustained the objection as to Jan's
Nomination Petition and removed Jan's name, from the March 20, 2018 primary ballot.

t6. Section Z-rc(a) of the Illinois Election Code, ro ILCS S/Z-to(a) (zot7),provides
that candidates for Statewide Office such as Governor of Illinois need. a minimum of

si,ooo signatures on their nomination petition. These signatures can be obtained from

anywhere in Illinois. All signatures could be obtained within Cook County. Therefore,

5,ooo signatures from registered voters in Cook County would be sufficient to place a

candidate for Governor of Illinois on the ballot for the Democratic Party nomination in

the March zo, zor8 primary election.

tz.   section z-ro(dXr) of the Election code, ro ILCS s/z-ro(d)(t) (zot7),provid.es:

      If a candidate seeks to run for countywide office in Cook County, then the
      candidate's petition for nomination must contain at least the number of
      signatures equal_to 06% of the qualified electors of his or her party who
      cast votes at the last preceding general election in cook county.
      Case: 1:18-cv-01277 Document #: 1 Filed: 02/20/18 Page 4 of 19 PageID #:4



 18. The definition of primary electors of the Democratic Parlyused here is the
 number of votes received by the Democratic candidate who received the most votes in

 Cook County in the November zo16 General Election.

 1'9. Unfortunately, this election was subject to two events forging this Iarge number.
 The first anomalywas that candidate was Karen Yarbrough ran unopposed for the Cook

 County Recorder of Deeds. Not coincidentally, Jan had sought to be a candidate for the

 ofEce of Cook County Recorder of Deeds for this election, but had been removed from

 the ballot. Ms. Yarbrough being unopposed receive d, t,647,r74votes. o.s%of that

 number is 8,236 signatures which equals the signature requirement for the March zo,

 2018 Democratic Primaryfor Cook Countyoffices.

 20, The second anomalywas due to the November zo16 General Election coinciding
 with the United States presidential election, engend.ering a disproportionately higher

voter turnout. This may be compared with the November zor4 General
                                                                           Election which
did not coincide with the United States Presidential Election. In that election,
                                                                                   the
person who received the most votes on the county level, also running
                                                                         unopposed., was
David orr, receiving 52o,44t votes. However, this was not an election coinciding
                                                                                       with
the United States presidential election. Apply o.s%percent of this number would
                                                                                         have
resulted in a z,6oz signature requirement.

2t'    In the November zot6 General Election, after Karen Yarbrough, the next
                                                                                    highest
countyvote getter was Kim Foxx receiving 6z6,g4gvotes, and then Dorothy
                                                                               Brown
receiving 567,2t8. Both of these offices were contested. Applying this
                                                                         o.5% to the
highest contested vote getter, Kim Foxx, would result in a signature
                                                                       requirement of
3,132 votes. But for the anomaly of Yarbrough running unopposed in a presidential

election year, this o.5% requirement, based. upon Kim Foxx as the
                                                                    highest contested vote


                                             4
       Case: 1:18-cv-01277 Document #: 1 Filed: 02/20/18 Page 5 of 19 PageID #:5



 receiver, would have been significantly less, 8,132. This is more commensurate with the

 state gubernatorial signafure requirement of 5,ooo. This Yarbrough anomaly has

 thereby skewed the results, undermined the legislative intention and has produced. an

 arbitrary and capricious mathematical product. "Historical accid.ent, without more,

 cannot constitute a compelling state interest." Socialist Workers Pu"fy, at r87.

 22. Cook County is a county within the geographical boundaries of the State of
 Illinois having a population of 5.238 million people of which 2.To;million people are in

 Chicago. Cook County is located entirely within the State of Illinois. Cook County has a

 smaller population and territory than the State of Illinois. Cook County is but one of roz

 counties that compose the territory of the state of Ininois.

 23. The Governor of Illinois is a vastly more powerful, important, and significant
office than the Cook Counp Clerk. The State of Illinois having a population of rz.8

million people.

24. Despite the fact that the Governor of Illinois is a more powerfirl, important, and.
significant office than Cook County Cler\ only 5,ooo valid signatures from Cook County

voters would be sufficient to put a candidate for Governor on the March zorg

Democratic ballot, but those same signatures would not be enough to put that
                                                                                  candidate
on the ballot for Cook County Clerk.

25. Records examination conducted pursuant to the petition challenge has
established Plaintiffhas in excess of 5,ooo valid signatures. Ttre signatures
                                                                                collected by
Plaintiffwould be sufficient for her to be placed on the Democratic primary Ballot for

Governor of Illinois. The requirement for 8,e36 signatures is a requirement
                                                                                 over 6oyo
higher than that for Governor.
        Case: 1:18-cv-01277 Document #: 1 Filed: 02/20/18 Page 6 of 19 PageID #:6



 26. If Plaintiffis removed from the ballot for Cook County Clerk - the only remaining
 candidate will be Karen Yarbrough - slated bythe regular Democratic Party
                                                                                     - who will
 win the nomination again unopposed - without providing voters any choice or means of

 expression.

            couNT r : coMPr"ArNT FoR DEcr"Ar{,ATony .ruocnffiur
 27. Plaintiffre-alleges and incorporates all her prior allegations made in this
 Complaint into this Count as if fully restated herein.

 eB. This case challenges as unconstitutional the Illinois Election Cod.e's ballot access
 requirement that Jan as a 2018 Democratic Primary Candidate for county-wide office in

 cook county must submit 8,236 valid signatures per 10 ILCS s/z-ro(d)(r), while

 candidates for Illinois statewide office such a Governor need only submit
                                                                              S,ooo
signatures for access to the ballot.

 29. Jan's removal from the ballot despite her having submitted signatures that would
qualify her for the ballot for Governor of Illinois would mean that, contrary to
                                                                                     the public
interest, the election for Cook County Clerk would again be uncontested., one-candidate

race.

30. Jan seeks a declaration that the Illinois Election Code is facially unconstitutional
to the extent that it requires partisan candidates for local office to submit g,zg6

signatures,6og6 greater than the 5,ooo signatures required for the statewide
                                                                                 ofEces. A
facial challenge requires the court to be vigilant in the protection of expressive

freedoms. The Illinois Election Code has to be read together such that number
                                                                                      of
signatures under Section Z-ro(dXr) as to county offices cannot be greater
                                                                             than the
number of signatures under Section Z-ro(a) as to state offices. To the extent
                                                                                the Illinois




                                             6
       Case: 1:18-cv-01277 Document #: 1 Filed: 02/20/18 Page 7 of 19 PageID #:7



 Election Code lacks any procedural safeguard to bring it in compliance with stare

 decisis, it must be declared faciallyunconstitutional.

 31. Further, Jan seeks a declaration that the Illinois Election Code as applied to the
 March zo, zotS democratic primaryis unconstitutional. The effects of the excessive

 signature requirement have been realized in a concrete way by Jan. Jan wishes to

 engage in political activities but has been deterred from doing so by the artificially high

 signature requirement. Plaintiffs actual injury exists in being barred from exercising

 her right to free expression by requiring g,z96 additional signatures. Engrafting this

 additional 3,236 signature requirement onto the 5,ooo signafure requirement is costly,

time-consuming, and has created an impenetrable barrier to ballot access for Jan, a

reasonably diligent candidate. This additional signature requirement created a

substantial and realistic barrier to plaintiff.

                           Statute Violates Equal Protection

32. The United States Constitution's Equal Protection Clause, U.S. Const. Amend.
XIV, Sr, provides that no State shall "deny to any person within its jurisdiction the equal

protection of the laws." The United States Supreme Court held in Illinois State Board.
                                                                                               of
Eleetions u. Sociah'st Workers Party that it was a violation of Equal Protection
                                                                                       rights for
the Illinois Election Code to require that a candidate for Iocal office be required.
                                                                                       to
submit more signatures than a candidate for statewide office.
                                                                  44o u.s. t7g, tg7 Ogzil.
33. The Seventh Circuit Court of Appeals held that the Equal protection analysis
equally applies to candidates running in established party primaries, such
                                                                              as those in

the present case. GTersten u. Board of Election com'rsfor city of chicago,
                                                                                TgtF.zd,
422,475-426 (C.A.Z (Ill.), rg86).

34. Ballot aecess is a fundamental right and strict scrutiny must be applied.
       Case: 1:18-cv-01277 Document #: 1 Filed: 02/20/18 Page 8 of 19 PageID #:8



  35. Restrictions on ballot access must be narrowly tailored to advance a compelling
 state interest. In this case, following the analysis from Socia6sr Workers party and,

 Giersten, the restriction that a candidate must obtain more than 8,236 signatures for

 the local office Plaintiffseeks is not narrowly drafted to advance any compelling state

 interest.

 36. Whatever interest the state may have in setting a signature requirement -
 preventing ballot clutter, showing a modicum of support
                                                             - would be satisfied for the
 office of Governor of Illinois bythat candid.ate submitting
                                                                 S,ooo signatures from Cook
 County. Therefore, per the reasoning of Socialist Workers party and G;'ersfen, it is a

 violation of Plaintiffs equal protection rights to require that she submit in excess of

 5,ooo signatures for her local office - since the State has determined that S,ooo Cook

 County signatures would satisfy all its compelling interests for Governor,
                                                                               requiring more
 than 6o% more signatures for a local office is clearly not narrowlytailored.

 37' If Defendants do not allow Plaintiff access to the March 20, 2018 primary balot
for the office that she seeks, despite her having in excess of
                                                                 5,ooo valid signatures on
her nomination petition, Defendants would be violating plaintiffs
                                                                        civil rights under the
Equal Protection Clause of the Constitution.

        statute violates Jan's First and Fourteenth Amendment Rights

s8' Courts have recognized that a facially neutral rule or practice which nevertheless
results in disparate treatment having a discriminatory effect
                                                                  may violate constitutional
rights as applied.

39' The First Amendment of the United States Constitution protects the Freedom of
Association, and this right has been extended to the State actions
                                                                      by the Fourteenth
Amendment. An election campaign is a means of disseminating ideas.
                                                                            Restrictions on


                                             8
       Case: 1:18-cv-01277 Document #: 1 Filed: 02/20/18 Page 9 of 19 PageID #:9



 access to the ballot burden two distinct and fundamental rights, "the right of individuals

 to associate for the advancement of political beliefs, and the right of qualified. voters,

 regardless of their political persuasion, to cast their votes effective." Williams u.

 Rhodes,393 U.S. 23, 3o (rg68). The freedom to associate as a political party has

 diminished practical value if the party can be kept offthe ballot. Access restrictions also

 implicate the right to vote because "voters can assert their preferences only through

 candidates or parties or both." Lubin u. panish,4r5 u.s. 7og,7t6 Ggzi. By limiting

 the choices available to voters, the State impairs the voters' ability to express their

 political preferences. Socialist Workers Party, 4+o U.S. t7g, t84. Voting is of the most

fundamental significance under our constifutional structure. Wesberry u. Sanders,
                                                                                              976
 U.S. r, V Ug6+). States have a legitimate interest in regulating the number of

candidates on the ballot. Socfalist Workers Party, id. atr85. However, even when

pursuing a legitimate interest, a State may not choose means that unnecessarily restrict

constitutionally protected liberty," Fll.sper u. pontikes, 4r4 u.S. s1, sg-s9 (rgzg). The

requirement of the least drastic means to achieve their ends is particular important

where restrictions on access to the ballot are involved. Socralis t Workers party,at 18g.

Overbroad restrictions on ballot access jeopardize this form of political expression. .[d.

40.    CCOEB will be hard pressed to present any reason, much the less a compelling

reason whythe state needs a more stringent requirement for cook county.

4t. The United States Supreme Court has said that restrictions on ballot access
burden two distinct and fundamental rights, "the right of individuals to associate for the

advancement of political beliefs, and the right of qualified voters, regardless of their

political persuasion, to cast their votes effectively." Socra/is t Workers party,44o U.S.
                                                                                              at
r84, quotingWilliamsu. Rhode.s, Sgg U.S. 23, go (rg6g).


                                              9
     Case: 1:18-cv-01277 Document #: 1 Filed: 02/20/18 Page 10 of 19 PageID #:10



  42' InNormanu. Reed,the United States Supreme Court re-affirmed Socialist
  Workers Party and ruled again that the Illinois Election Code was unconstitutional

  where it required candidates for Cook county ofEce to collect
                                                                    more signatures than
  candidates for statewide ofEce. Soe U.S. 27g,2gl_2g+ (tggz).While
                                                                             the Socrclist
  Workers Party ruling was made using Equal Protection rationale,
                                                                         Normanemployed a
 First and Fourteenth Amendment analysis, as explained in footnote g:

        B.      AsinAndersonu. celebrezze,46o u.s. z-go,
                                                              1o3 s.ct. 1564 ,7gL.Ed.zdsqz
        (tg8g)r "[w]e base our conclusions directly on it   i irJ"na roi.teenth
        Amendments and do not engage in a sepaiate Equal  " protu"tio" CI";; analysis.
        we rely, however, on the analysis in a riumber
        on the         Protection                       "f;;r   trig; J;;;"
                                                                          -ia., cases resting
               Pgrul
           to1 S.Ct. at 156g-1569
                                  Clausl of the Fourteenth amendm."1.           ii 796:81 ;.
        7,                       ,\.7.
 43' Since ballot access affects fundamental rights, strict scrutiny must be applied.
 Restrictions on ballot access must be narrowly tailored to
                                                               advance a compelling state
 interest' The restriction that a candidate must obtain 8,236 signatures
                                                                             for the County
 office Plaintiffseeks is not narrowly tailored to advance any
                                                                  compelling state interest.
The compelling state interest for its rz million people population
                                                                       is quite literally s,ooo
signatures' The compelling Cook County interest for its
                                                             s.2gg million population is
8,236 signatures. Whatever interest the county may
                                                         have in setting a signafure
requirement - preventing ballot clutter, showing a
                                                       modicum of support - is well
satisfied by the state requirement of
                                        5,ooo signatures. It is a violation of plaintiffs
equal protection rights to require her to submit sixtypercent
                                                                  more than 5,ooo
signatures for a cook Counp office
                                     - since the state legislafure has provided that 5,ooo
Cook county signatures would satisfy all its compelling
                                                            interests for governor.
Requiring 6o%" more signatures for county ofEce is clearly
                                                              not narrowly tailored.




                                              10
      Case: 1:18-cv-01277 Document #: 1 Filed: 02/20/18 Page 11 of 19 PageID #:11



 44. The additional 3,236 signatures is prohibitive. In order to secure the signatures
 of 3,236 registered voters, the guideline is to collect three times that amount due to

 some signers not being registered voters. For a candidate to secure g,zg6signatures of

 registered voters, a reasonably diligent candidate must realistically collect g,7o}

 signatures.

 45- Candidate collecting signatures during rush hour at train stations was able to
 secure 6o signatures per hour and circulators were able on average to collect
                                                                                  3o
 signafures per hour during the same rush hour. However, at most there are four rush

 hours (7-g a.m. and 4-6 p.m.) on the five work days or zo hours weekly. It would take a

 circulator 323 hours or sixteen weeks to collect this amount of signatures. However,

the circulation process is only twelve week duration. A reasonably diligent candidate is

unable to collect this additional amount within twelve weeks.

 46. The Court inAndersonu. Celebrezze,46o U.S. 78o (1983) recognized the time
involved in seeking signatures, noted that early filing deadline violated the First and

Fourteenth Amendments. Justice Stevens noted "in approaching cand.idate restrictions,

it is essential to examine in a realistic light the extent and nature of their impact on

voters."

47. At minimum wage ascribed to a circulator, the cost of these g2g hours at $g.25
per hour is an additional $2,664.7s. Many potential office seekers lacking
                                                                              both personal
wealth and affluent backers are, in every practical sense, precluded from seeking the

nomination of their chosen party, no matter how qualified the candidate is and no

matter how broad and enthusiastic the candidate's popular support. While not a fee

collected directly by the election authority, there is nonetheless a fee associated
                                                                                      with this
additional requirement for s,2s6 valid signatures . Bullocku. carter,4os u.s. rs+


                                             11
      Case: 1:18-cv-01277 Document #: 1 Filed: 02/20/18 Page 12 of 19 PageID #:12



  (tgzz) andLubinu. Panish,4r5 u.S.
                                         7og (rg74), found a per se filing fee violates the
  Equal Protection Clause.

  48' The extent and nature of candidate restrictions must be examined in a realistic
  Iight' Candidate circulated from September s,zotTthrough December
                                                                              4,zot7within
  Cook County. Candidate had significant difficulty in circulating
                                                                       her petition among the
  Hispanic communities in Cook County, even though Candidate had
                                                                          Hispanic circulators
 speaking Spanish to voters. In the fall of zor7, a national
                                                                debate emerged about
 "Dreamers" or Deferred Action for Childhood Arrivals ("DACA").
                                                                        The Hispanic voters
 were fearfrrl of signing believing, whether rightfuIly
                                                          or not, that signing would give the
 government information for detention and deportation
                                                             for immigration purposes.
 49' The Nomination Petition is not written in Spanish, Chinese, Hindi, or Arabic
 among other languages and voters were reluctant to
                                                          sign a document which they could
 not read.

 50' candidate had significant difficultyin circulating her Nomination petition among
 women voters who are reluctant to provide their
                                                      address to a stranger for fear of
stalking' on one occasion, an older woman explained to a younger
                                                                         woman voter to sign
and give her nearest street corners. This, of
                                                 course, rendered an otherwise valuable
voter's signafure worthless.

51' Candidate had significant difficulty in circulating her Nomination petition among
older voters' These more mature voters were
                                                  reluctant to provide anyone with their
signature and their address fearing identity theft.

52' The additional 3,2g6 signatures is not problematic for the other remaining
candidate for the office of the cook county clerk
                                                      slated by the regular cook county
Democratic organization. The other candid.ate
                                                   is the sergeant at Arms for the


                                            12
      Case: 1:18-cv-01277 Document #: 1 Filed: 02/20/18 Page 13 of 19 PageID #:13



 organization. The regular Democratic Organization provided a slate for incumbents,

 Preckwinkle, Berrios, Yarbrough, Dart, and Pappas. These slated candidates do not

 each have to have 8,z96 minimum signatures. As all five were on the same nominating

 petition, there were able to share the signatures. Consequently, each of the five

 candidates needed to procure only t,647 valid signatures.

 53. Jan, as a grass roots challenger, could not run on a slate and was disadvantaged,
 not being endorsed by the regular Democratic Organization.

 54. Four candidates initially fiIed Nomination Petitions for the Cook County Clerk:
 IGren Yarbrough; Nick Shields; Stephanie Joy Jackson-Rowe; and plaintiff. Karen

Yarbrough's slated petition contains over go,ooo signatures. Nick Shields presented

 lo,ooo total signatures but withdrew his Nomination Petition. Stephanie Joy Jackson-

Rowe presented g,7og total signatures but after her records examination she had rgzg

fewer than the minimum and the Objection was sustained. Of the four candidates, only

the slated candidate was able to secure over 8,236 signatures.

55. In the Cook County Sheriffs race, challenger Edward Acevedo presented ll,oos
total signatures but after his records examination he had e,582 fewer than the 8,236

minimum andthe Objection was sustained.

S6. In the Cook County Assessor's race, challenger Andrea Raila presented zg,BS7
total signatures. After her records examination she had 5,9o2 signatures above the

minimum but the Board's Decision struck 8,41tsignatures, Ieaving her 2,569 fewer than

the 8,236 minimum andthe Objection was sustained.

57. The powerful evidence is that a reasonably diligent candidate cannot be opected
to be able to meet 8,236 valid signatures within 90 days requirements and gain a place

on the ballot. It is crystal clear that these higher minimums in this zorS election cycle


                                            13
      Case: 1:18-cv-01277 Document #: 1 Filed: 02/20/18 Page 14 of 19 PageID #:14



  had a material negative effect on candidates'abilityto obtain the necessary
                                                                                  signatures.
 see stoneu. Boardof Electioncom'rsfor city of chicago,75o F.3d 67g,6gr(F
                                                                                         cir.
  zor4).

 s8. This additional signature requirement implicates the Court's same Equal
 Protection Clause concerns.

 59' Defendants did not allow Plaintiffaccess to the March eo, zorS primaryballot for
 the office she seeks, despite having in excess of
                                                     5,ooo valid signatures on her
 nomination petition. Defendants are violating Plaintiffs constitutional
                                                                             rights under the
 equal protection and the First and Fourteenth Amendments of the
                                                                        Constitution.
               coUNT Ir: coMPr,ArNT FoR rN"rulucrnm nnunr
 6o' An immediate injunction prohibiting enforcement of any Cook County signature
 requirement above the statewide requirement of
                                                      5,ooo for the March zo, zotg
 Democratic Parly Primary is necessary or else Plaintiff, Jan Kowalski
                                                                          McDonald will not
be a candidate for the zorS Democratic Primary for Cook
                                                              County Clerk. This would
happen despite the facts that Jan submitted a quantity 22,o;Tsignatures
                                                                              far in excess of
the 8,236 minimum signature requirement currently required under
                                                                         the Illinois
Election Code. This would happen despite the faet that the biased
                                                                       and flawed records
examination conducted bythe Cook County Clerk has confirmed
                                                                     Jan submitted g,6g4
valid signatures of registered Cook County voters. That means
                                                                   that the signatures
submitted by Jan for Cook County office, would have been
                                                               sufficient to place her on the
Democratic primary ballot for the Governor of Illinois.

6r'    The Defendant's Decision of February zo, zorS removed
                                                                   Jan from the ballot
finding she had 3zo signatures below the statutory minimum.
                                                                  Although Jan was 44g




                                            t4
      Case: 1:18-cv-01277 Document #: 1 Filed: 02/20/18 Page 15 of 19 PageID #:15



 signatures above the minimum, after the Defendant's deducted 768 signatures, Jan was

 3zo signatures below the statutory minimum.

 62. Jan seeks a temporary restraining order, thereafter preliminary injunction and
 permanent injunction that prohibits Defendants from removing Plaintifffrom the ballot

 for the March 20, 2ol8 Democratic Party Primary Election and. ord.ers Defendants to

 print her name on said Primary Ballot.

 69. Absent prompt judicial intervention, Jan Kowalski McDonald, will be
 immediately removed as a candidate from the March 20, 2o1B Democratic primary

Ballot. Eu.bvoting and mailing of absentee ballots commences on February zr, eor3.

 64. Jan's removal from the ballot despite having submitted more than enough
signatures to qualifr means that contraryto public interest, the election for Cook County

Clerk will be another uncontested, one-candidate race. Should Petitioner-Candidate's

name be removed from the ballot, then there will only be one person on the ballot.

There is no fear of ballot dilution should Candidate's name remain on the ballot until

this Court rules on the underlying Petition. Conversely, should this Court reverse the

Defendants' removal, Candidate will be severely prejudiced due to voting already having

started.

65- At stake are the fundamental rights as to the freedom to associate as a political
parly and the right to cast votes effectively triggering strict scrutiny. The state,s

regulation of ballot access must be narrowlytailored as necessaryto serve a compelling

interest. Requiring g,236 more signatures for Cook County candidates than the State of

Illinois eandidates is not narrow.

66- Candidate is a candidate for the Office of the Cook County Clerk in the March zo,
2018 Democratic primary.


                                             15
     Case: 1:18-cv-01277 Document #: 1 Filed: 02/20/18 Page 16 of 19 PageID #:16



 67. Candidate's 22,C,97 voters who signed her Nomination Petition have a right to
 choose who they want on the ballot.

 68. The Cook County Clerk verified Jan had 8,684 signatures of registered voters,
needing 8,236, more than sufficient to entitle her to a place on the ballot.

 69. Yet, the actions of the Defendants in their February zo, zor8 Decision removed
Jan from the ballot.

70- A candidacy is not the exclusive properly of the candidate. A candidacy is the
expression of the popular will, of the signers of the petition, as well as of the candidate.

Absent reversal, these signers may well be disheartened should they learn of what the

electoral board has done. But they will be unable to express themselves as to that at the

polls as only one name will be on the ballot. The Defendants'tactics must be

condemned if the protections of strict scrutiny are to be effective.

7r. A temporary restraining order and injunction are appropriate where to do
otherwise would be fatal to a plaintiffs rights.

72. Candidate, Jan Kowalski McDonald, has demonstrated complete fulfillment of all
requirements for a temporary restraining order, is established as follows:

      a. Jan will suffer immediate and irreparable injury if the Defendants are not
      restrained and enjoined from removing her from
      b. Jan has prescribed preciselythe-injurythat the March zo, zorg ballot.
                                                     will occur unless the
      Defendants are restrainedind enjoined fiom removing trer from ifre
                                                                                 March eo,
      2018 ballot.
      c.      Jan on the basis of the facts stated above, has shown that she has a great
      likelihood of success on the merits as the County B,zg6signature requirement is
      6o% higher than the 5,ooo state signatur. r"quirument.
      d.      Failure of this Court to act to preserve ian's interest and the Cook County
      voter's interestwill cause disproportionatelygreater harm to Jan than
                                                                                  to the
      Board. The Defendants will notiuffer harm iTit is restrained and enjoined. from
      removing Jan from the ballot.
      e.     The status qY: willbe preserved during the pendencyof these
      proceedings, and will enable fhe court to adju-clicate the rights of
                                                                           tfr. parties.



                                            t6
      Case: 1:18-cv-01277 Document #: 1 Filed: 02/20/18 Page 17 of 19 PageID #:17



 73. A temporary restraining order, and thereafter, preliminary injunction, should
 issue without the necessity of Candidate posting bond. Jan is a lifelong resident of Cook

 county, owning properly in cook county and working in cook county.

 COUNT III: COMPLAINT FOR CfyIL RIGHTS VIOL{IION UNDER
                                                       42 U.S.C.
                              8rg8.q

 74- Jan incorporates Paragraphs r through 73 set forth above as though contained
 herein fully.

 75. Jan has suffered a violation of her constitutionally protected rights under the
 First and Fourteenth Amendments to the United States Constitution and under the

 Illinois Constitution.

 26. Jan suffered injury caused by the Defendants, acting under color of state law,
 unconstifutionally implementing or executing a policy, custom, usage, regulation, rule,

or decision promulgated by the Defendants.

77. Defendants deprived Jan of her federal rights and acted under color of state law.
28. The Defendants have engaged in unconstifutional practices contravening Section
1983 and Section 1985, 4z USC r9g3 and 1995.

79. The Defendants'disqualification of Jan's 22,og7 Nomination petition signers
severely burdened Jan's First and Fourteenth Amendment rights under
                                                                           the United
States Constitution.

8o. The disenfranchisement of zz,o57 signers of Jan's Nomination petition operates
to severely restrict First and Fourteenth Amendment rights which restriction
                                                                                  is not
narrowly drawn to advance the state's interest in minimizing party splintering,
                                                                                    excessive
factionalism, and ballot clutter. Clearly ballot clutter will not be a problem
                                                                                 since the




                                            L7
     Case: 1:18-cv-01277 Document #: 1 Filed: 02/20/18 Page 18 of 19 PageID #:18



 only other remaining candidate, endorsed by the regular Democratic party, would be

 allowed to run unopposed, yet again.

 8r. Jan has suffered injury as a proximate result of the Defendants'actions in
 contravention of Section 1983 and r98S.

                                 PRAYER FOR RELIEF

       WHEREFORE, the Plaintitr, JAN KOWALSKI McDONALD, respectfully requests

 that this Honorable Court:

    A. Declare that the Illinois Code is unconstitutional to the extent that it requires
       Plaintiff, as a candidate for local office to submit more signatures than eandidates

       for statewide ofEce;

    B. Issue a temporary restraining order, followed by a preliminary and permanent
       injunction, against Defendant and all those acting in concert enjoining

       Defendants from removing Plaintifffrom the March zo, zorS Democratic party

       Ballot and from enforcing any signature requirement greater than
                                                                            S,ooo for the
       Cook County Cler\ and further ordering that Defendants print the name of

       Plaintiffon March 20, 2018 Democratic Party Ballot for the office of the Cook

       county clerk, having submitted greater than 5,ooo valid signatures; and

   C. Award nominal damages, compensatorydamages and punitive damages; andfor

      such other relief as the court deems just and proper.




Jan Kowalski McDonald
r9r8 West Cermak Road
Chicago, Illinois 6o6o8
zze/696-g6g8


                                            r8
     Case: 1:18-cv-01277 Document #: 1 Filed: 02/20/18 Page 19 of 19 PageID #:19




                                    CERTIFICATION
        under Federal Rule of Civil procedure 11, by siguing below, I certifii to the best of
my.knowledge, information, and belief that this complaint] (r) is not bein! presented for
an improper puqpose, such as to harass, cause unnecessa.y a"tuy, or rr".dTu'rrfyi".r"*a
the cost of litigatio.n; (2) is supportedby existing law or Ui                    argument for
extending, modifuing, or reversing existing law; (S) the factual " "orif"i"oio"s
                                                                     contentions h"ave
                                                                  *
eytdentiary support or, if specificilly so identifiLd, will likely t                  support
after a reasonable.opportumty for further investigation or air"o*"y;-u"a "uia.ntiury
                                                                                 f+l tfr"^'
complaint otherwise complies with the requirem6nts of Rule rr.

         agree to provide the Clerk's Office with any changes to my address where case-
relltgd p.?P9t..     pg s^eryed. I understand that my failu"re to keepa current address
                   ryy

Signahre of Plaintiff
Printed Name of Plaintiff        Kowalski M




                                            t9
